
66 So.3d 409 (2011)
Michael John TRAYDON, Former Husband, Appellant,
v.
Amy Michelle TRAYDON, Former Wife, Appellee.
No. 1D11-2453.
District Court of Appeal of Florida, First District.
August 4, 2011.
Robert A. Sandow, Live Oak, for Appellant.
No appearance for Appellee.
PER CURIAM.
The Court has determined that because the order on appeal fails to bring the judicial labor to an end with regard to non-collateral matters, the appeal is premature. See, e.g., Hoffman v. O'Connor, 802 So.2d 1197 (Fla. 1st DCA 2002) (dismissing appeal from dissolution order that was not final because it reserved jurisdiction to *410 determine equitable distribution). Accordingly, the appeal is dismissed.
BENTON, C.J., LEWIS and WETHERELL, JJ., concur.
